                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 June 25, 2015
                              No. 10-14-00406-CR
                           MICHAEL EDWARD STRICKLAND
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 82[nd] District Court
                              Falls County, Texas
                             Trial Court No. 8032
                                       
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JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that Michael Edward Strickland has failed in his duty to prosecute this appeal with diligence, it is the judgment of this Court that the appeal is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

